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                                                                                      FILED
                              UNITED STATES DISTRICT COURT                            SEP 2 7 2G10
                               DISTRICT OF SOUTH DAKOTA                               ~t.l 1
                                   SOUTHERN DIVISION                                         ~          •..
 ************* ********************************* ****                                                   ~.
                            *
 UNITED STATES OF AMERICA,  *      CR. 10-40004-10
                            *
           Plaintiff,       *
                            *
      vs.                   *          ORDER
                            *
 BRUCE ROSS,                *
                            *
           Defendant.       *
                            *
 ***************************************************

        Defendant Bruce Ross requests reconsideration of the detention order previously entered.

 Based on a review of the motion, it is noted the sole new basis presented by defense counsel for

 reopening the hearing is that Defendant has now submitted to an interview with the pretrial services

 officer. Other bases listed in the motion were previously considered or are factors that are not

 relevant to the risk of flight or danger. The pretrial services officer recommends continued

 detention.

        Accordingly, it is hereby

        ORDERED that Defendant's Motion to Reconsider Detention (Doc. 254) is DENIED as

 sufficient circumstances have not been presented to justify the reopening of the detention hearing.

        Dated this ~ day of September, 2010.

                                               BY THE COURT:


                                               JohnE mko
                                               Unite Sates Magistrate Judge
